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                        Exhibit A
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                 In re Boy Scouts of America and Delaware BSA, LLC
                           Revised Participating Parties List


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